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Federal Defenders Southern District
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Executive Director & AE A a Jennifer L. Brown be

Auorney-in-Charge

November 9, 2020

 

Via ECF and EMAIL

 

 

Honorable George B. Daniels ed |
United States District Judge SO ORDERED: =
Southern District of New York & yp , Q
500 Pearl Street od L MM )
New York, NY 10007 Géofge B-thaniels, U.S.D.J.
Re: United States v. John Blair Dated: NG/ 8 9 Spon
VS SLU

 

20 CR 342 (GBD)

Dear Judge Daniels:

I write, with the consent of Pretrial Services, to respectfully request
permission for Mr. Blair to attend his aunt’s funeral services, and any other
associated events, on Wednesday, November 11, 2020. Mr. Blair will provide
further details and itinerary to Pretrial Services.

On October 29, 2020, the Court modified Mr. Blair’s conditions to replace the
condition of home confinement with home detention to permit employment. Mr.
Blair remains in full compliance with his conditions of release.

Respectfully submitted,

/s/ Amy Gallicchto

 

Amy Gallicchio

Assistant Federal Defender
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Cc AUSA Rebecca Dell
PTO Joshua Rothman
